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                        EXHIBIT 09
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                                                                                       EXHIBIT09




                IN THE SUPREME COURT OF THE STATE OF OREGON

                                   HEIDI MARIE BROWN,
                                   Petitioner-Adverse Party,

                                              V.

                                      ARNAUD PARIS,
                                     Respondent-Relater.

                               Jackson County Circuit Court
                                      22DR17285

                                           S070246

      ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
                       DENYING MOTION TO VACATE

Upon consideration by the court.

The petition for peremptory writ of mandamus is denied without prejudice.

The emergency motion to vacate the trial court's October 11, 2022, status quo order is
denied as moot.




              DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
Prevailing party: Adverse Party.                                     [ X ] No costs allowed.


c: George W Kelly
   Arnuad Paris
   Hon. David J Orr
lir




ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
DENYING MOTION TO VACATE
          REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
                Supreme Court Building, 1163 State Street, Salem, OR 97301-2563
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